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UNITED STATES DICTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

TOM MAHNONEY, on behalf of
himself and on behalf of others
similarly situated,

CASE NO.::
Plaintiff,
Vv.
Class Action
QUICKEN LOANS, INC.., Jury Demanded
Defendant.

/
CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

l. Tom Mahoney (‘Plaintiff’) brings this action to enforce the consumer-privacy
provisions of the Telephone Consumer Protection Act (“TCPA”), a federal statute enacted in 1991
in response to widespread public outrage about the proliferation of intrusive, nuisance
telemarketing practices. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).

2. Plaintiff's telephone number is listed on the national Do Not Call Registry, a list
explicitly designed to protect the public from these kind of intrusive telemarketing calls. Quicken
Loans, Inc. (“Defendant”) made marketing solicitations, i.e., calls for the purpose of the purpose
of encouraging the purchase or rental of, or investment in, property, goods, or services to Plaintiff s
phone.

3. Because Plaintiff had not given his prior express invitation or permission to receive
these calls from Defendant, these calls violated the TCPA and the Do Not Call Registry laws and
regulations.

4. This is the scenario Congress attempted to prevent in enacting the TCPA. Plaintiff

now seeks this Court's intervention and help in attempting to prohibit this unlawful conduct.

 

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2 Plaintiff brings this action on behalf of a proposed nationwide class of other persons
who received illegal telemarketing calls from or on behalf of Defendant.

6. A class action is the best means of obtaining redress for the Defendant’s wide scale
illegal telemarketing, and is consistent both with the private right of action afforded by the TCPA

and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

THE PARTIES
Be Plaintiff is a resident of this District.
8. Upon information and belief Defendant is a Michigan corporation that solicits

business in the State of Florida and has a registered agent in the State. The registered agent is CT
Corporation System, 1200 South Pine Island Rd., Plantation, FL 33324.
THE VENUE

9. The Court has federal question subject matter jurisdiction over these TCPA claims.
Mims v. Arrow Financial Services, LLC, 132 8. Ct. 740 (2012).

10. Venue is proper because the Plaintiff is a resident of this District and Defendant has
sufficient contacts in this State and District to subject it to personal jurisdiction. Defendant made
telephone calls into this District.

ARTICLE III STANDING

11. Plaintiff has Article III standing for his claim under the TCPA. Spokeo, Inc., v.
Thomas Robins, 136 8. Ct. 1540 (2016). See also Williamceau v. Dyck-O'Neal, Inc., No. 2:16-CV-
855-FTM-29CM, 2017 WL 2544872, at *2 (M.D. Fla. June 13, 2017)

12. Plaintiff was harmed by Defendant’s actions of calling his phone while his number
was on the Do Not Call Registry in the following manners:

a. Plaintiff's privacy was invaded by Defendant:

 

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b. Plaintiff was harassed and abused by Defendant’s telephone calls;
c. Defendant’s calls were a nuisance to Plaintiff;
d. Plaintiff's phone was unavailable for other use while processing the illegal

calls from Defendant:
e. Defendant illegally seized Plaintiff's telephone line while it made illegal

calls to Plaintiff's telephone:

E Plaintiff's telephone line was occupied by multiple unauthorized calls from
Defendant;

g. Defendant’s seizure of Plaintiff's telephone line was intrusive; and

h. Plaintiff was inconvenienced by Defendant’s calls, by among other things,

hearing his ring and having to check the calling party.
THE TELEPHONE CONSUMBER PROTECTION ACT

13. Advances in telecommunications technology have provided benefits to American
society. But those benefits are not cost-free; new technologies bring with them new ways to intrude
upon individual privacy and waste the time and money of consumers. The 1980s and 90s brought
an explosion of abuses of telephone and facsimile technology, including the use of auto-dialers to
clog telephone lines with unwanted calls, “robo-calls” with unsolicited or unwanted, prerecorded
messages, and “junk faxes” that consume the recipients’ paper and ink and interfere with the
transmission of legitimate messages.

14. In 1991, Congress enacted the TCPA to regulate the explosive growth of the
telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing .. .
can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

 

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The TCPA prohibits telemarketing calls to numbers listed
on the Do Not Call Registry, unless the caller
has the recipient’s express consent

15. The national Do Not Call Registry (the “Registry”) allows consumers to register
their telephone numbers and thereby indicate their desire not to receive telephone solicitations at
those numbers. See 47 C.F.R. § 64.1200(c)(2). A listing on the Registry “must be honored
indefinitely, or until the registration is cancelled by the consumer or the telephone number is
removed by the database administrator.” Jd.

16. | The TCPA and implementing regulations prohibit the initiation of telephone
solicitations to residential subscribers to the Registry. 47 U.S.C. § 227(c); 47 CFR.
§ 64.1200(c)(2).

17. The Federal Trade Commission (FTC) amended the Telemarketing Sales Rule
(TSR) to give consumers a choice about whether they want to receive most telemarketing calls.
As of October 1, 2003, it became illegal for most telemarketers or sellers to call a number listed
on the Registry. The Registry applies to any plan, program, or campaign to sell goods or services
through interstate phone calls. This includes telemarketers who solicit consumers, often on behalf
of third party sellers. It also includes sellers who provide, offer to provide, or arrange to provide
goods or services to consumers in exchange for payment.

18. The Registry does not limit calls by political organizations, charities, or telephone
surveyors. A telemarketer or seller may call a consumer with whom it has an established business
relationship for up to 18 months after the consumer's last purchase, delivery, or payment—even if
the consumer's number is on the Registry. In addition, a company may call a consumer for up to
three months after the consumer makes an inquiry or submits an application to the company. And

if a consumer has given a company express written permission, the company may call even if the

 

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consumer's number is on the Registry C. However, if a consumer asks a company not to call, the
company may not call, even if there is an established business relationship. Indeed, a company
may not call a consumer—regardless of whether the consumer's number is on the registry—if the
consumer has asked to be put on the company's own do not call list.

19. A person whose number is on the Registry, and who has received more than one
telephone call within any twelve-month period by or on behalf of the same entity in violation of
the TCPA, can sue the violator and seek statutory damages. 47 U.S.C. § 227(c)(5).

20. The regulations exempt from liability a caller who has obtained the subscriber’s
prior express invitation or permission to receive telephone solicitations from the caller. 47 C.F.R.
§ 64.1200(c)(2)(ii). Such permission “must be evidenced by a signed written agreement between
the consumer and the seller” which states “that the consumer agrees to be contacted by the seller.”
That agreement must also include the telephone number to which the calls may be placed. Jd.

FACTUAL ALLEGATIONS
Defendant placed telemarketing calls to the Plaintiff

21. Plaintiff is the owner of. subscriber to and user of the telephone number (239) 898-
4040 (“Plaintiffs Telephone Number”). Plaintiff's Telephone Number is used for residential
purposes. Each of the telephone calls referenced below were made to Plaintiff's Telephone
Number. None of the calls at issue were placed by Defendant to Plaintiff's Telephone Number for
"emergency purposes."

22. In April of 2018, Plaintiff began receiving telephone calls directly from Defendant.

23. The calls were for the purpose of encouraging the purchase or rental of, or
investment in, property, goods, or services, i.e, home mortgage loans and services, from

Defendant.

 

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24, The calls were placed without the Plaintiffs prior express invitation or permission.
There was no signed written agreement between Plaintiff and Defendant which states “that the
[Plaintiff] agrees to be contacted by [Defendant].”
25. Plaintiff is not a customer of Defendant and has not provided Defendant with his
consent to be called on Plaintiff's Telephone Number.
26. __ Plaintiff's Telephone Number has been listed on the National Do Not Call Registry
for more than 31 days prior to the calls.
27. Messages were left for Plaintiff on some of the calls and no messages were left on
other calls.
28. On Friday, April 27, 2018 Plaintiff received a message from Defendant and two
more calls that were not answered.
29. On Monday, April 29, 2018 Plaintiff received a message from Defendant and 3
more calls that were not answered.
30. On Tuesday, May 1, 2018 Plaintiff received 4 calls from Defendant, including 2
messages.
31. The messages were slightly different but generally stated:
a. “HiTom,thisis giving youa call from Quicken Loans. We are
calling about that entry to the HDTV home giveaway sweepstakes. As part of that
sweepstakes were offering you a complementary mortgage review. It is important

to call as soon as possible at 866-349-8543. Thank you in advance for your return
call.

b. Hi Tom, this is calling from Quicken Loans, and I’m calling
about that entry to the HDTV home giveaway sweepstakes. As part of that
Sweepstakes were offering you a complementary mortgage review. Call back as
soon as you get this message at 866-349-8543. We look forward to your call and
we hope you have a great one.”

 

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c. “Morning Tom, this is from Quicken Loans. I’m reaching out
real quick in regards to the home mortgage information. Call me back when you
get this. My number is866-349-8543.”
d. Hi, this is calling from Quicken.
32. While Plaintiff entered the HDTV home giveaway sweepstakes, he specifically did

not check the box allowing Quicken Loans to contact him. The optional language, which he did

not check, is as follows

E} Quicken Loans
I'd like to speak to a Quicken Loans Home Loan Expert about my mortgage
opportunities. By checking this box and clicking submit, you agree that
Quicken Loans may contact you using automated dialers and prerecorded
messages via phone, SMS and email, even if your number is on any state,
federal or corporate Do Not Call List. eer is eat required asa condition to
receive any services from Quicken Loans. Quicken Loans Privacy Policy

ai Because Plaintiff did not check the authorization box, Quicken Loans was aware
that Plaintiff did not want to speak to a Quicken Loans Home Loan Expert about mortgage
opportunities and did not want calls from Quicken Loans.

34. Additionally, within the last year, Plaintiff had told representatives of Quicken
Loans not to call him in connection with previous HDTV sweepstakes giveaways.

CLASS ACTION ALLEGATIONS

35, As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings
this action on behalf of a class of all other persons or entities similarly situated throughout the
United States.

36. The class of persons Plaintiff proposes to represent with respect to Count One is
tentatively defined as all persons within the United States whose phone numbers were registered
on the Do Not Call Registry for more than 31 days prior to receiving calls from, or on behalf of,

Defendant, and who, within the four years before the filing of the initial Complaint, received more

 

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than one commercial telemarketing call within any twelve-month period from Defendant, after
Defendant acquired the person’s telephone number from the HDTV home giveaway sweepstakes
and the person did not check the box authorizing Quicken Loans to call the person.

a. Excluded from the Class are Defendant and its subsidiary(ies), officers,
directors, employees, partners and co-ventures. Also excluded are any federal, state, or local
governmental entities, any judicial officer presiding over this action and the members of his/her
immediate family and judicial staff, and any juror assigned to this action.

37. The class as defined above is identifiable through web site records, phone records
and phone number databases.

38. Plaintiff does not know the exact number of members in the proposed class, but
reasonably believes based on the scale of Defendant’s business, and the number of calls that he
received, that the class is so numerous that individual joinder would be impracticable. On
information and belief, the potential class members number at least in the hundreds or thousands.

39. Plaintiff and all members of the proposed class have been harmed by the acts of
Defendant in the form of multiple involuntary telephone and electrical charges, the aggravation,
nuisance, and invasion of privacy that necessarily accompanies the receipt of unsolicited and
harassing telephone calls, and violations of their statutory rights.

40. Plaintiff is a member of the class.

41. There are questions of law and fact common to Plaintiff and to the proposed class,
including but not limited to the following:

a. Whether Defendant violated the TCPA by engaging in advertising by

unsolicited telemarketing calls:

 

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b. Whether Defendant within the four years before the filing of the initial
Complaint, made more than one telemarketing calls within any twelve-month period to individuals
whose telephone number had been registered on the Do Not Call Registry for more than 31 days;
oa Whether the registration on the HDTV home sweepstakes giveaway website
constituted consent for Defendant to calls the individuals that did not check the Quicken Loans
authorization checkbox; and
d. Whether the Plaintiff and the class members are entitled to statutory
damages as a result of Defendant’s actions.
42. The Class satisfies the FED. R. CIV. P. 23 numerosity, commonality, typicality,
adequacy, predominance, superiority and ascertainability requirements.
43. Plaintiff's claims are typical of the claims of class members.
44. Plaintiff is an adequate representative of the class because his interests do not
conflict with the interests of the class, he will fairly and adequately protect the interests of the
class, and he is represented by counsel skilled and experienced in class actions, including TCPA

class actions.

45, The actions of Defendant are generally applicable to the class as a whole and to
Plaintiff.
46. Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient
adjudication of the controversy. The only individual question concerns identification of class
members, which will be ascertainable from records maintained by HDTV. Defendant and/or their

agents.

 

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47. The likelihood that individual members of the class will prosecute separate actions
is remote due to the time and expense necessary to prosecute an individual case.
48. Plaintiff is not aware of any litigation concerning this controversy already
commenced by others who meet the criteria for class membership described above.
CAUSES OF ACTION

Count One:
Violation of the TCPA’s Do Not Call provisions

49. Plaintiff incorporates the allegations from all previous paragraphs as if fully set
forth herein.

50. Plaintiff and the members of the class are “persons” and “called part[ies]” under
the TCPA.

Sl.  47US.C. § 227(c)(5) provides that any “person who has received more than one
telephone call within any 12-month period by or on behalf of the same entity in violation of the
regulations prescribed under this subsection may” bring a private action based on a violation of
said regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid
receiving telephone solicitations to which they object.

De: The TCPA’s implementing regulation—47 C.F.R. § 64.1200(c)—provides that
“[nJo person or entity shall initiate any telephone solicitation” to “[a] residential telephone
subscriber who has registered his or her telephone number on the national do-not-call registry of
persons who do not wish to receive telephone solicitations that is maintained by the federal
government.” See 47 C.F.R. § 64.1200(c).

53. Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,
telephone solicitations to wireless and residential telephone subscribers such as Plaintiff and the

Class members who registered their respective telephone numbers on the National Do Not Call

 

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Registry, a listing of persons who do not wish to receive telephone solicitations that is maintained
by the federal government.

54. Defendant made more than one unsolicited telephone call to Plaintiff and members
of the Class within a 12-month period without their prior express consent to place such calls.
Plaintiff and members of the Class never provided any form of consent to receive telephone calls
from Defendant, and/or Defendant does not have a record of consent to place telemarketing calls
to them.

55. Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Class received
more than one telephone call in a 12-month period made by or on behalf of Defendant in violation
of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s conduct as alleged herein,
Plaintiff and the Class suffered actual damages and, under section 47 U.S.C. § 227(c), are each
entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

56, To the extent Defendant’s misconduct is determined to be willful and knowing, the
Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
recoverable by the members of the Class.

57. The Defendant’s violations were knowing/willful.

a. Because of the presence of the check box on the HDTV sweepstakes entry

form it is clear Defendant was aware of its need to comply with the TCPA; yet Defendant did not

comply.
58. Relief Sought: For himself and all class members, Plaintiff requests the following
relief:
a. That Defendant be restrained from engaging in future telemarketing in violation
of the TCPA.

 

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b. That Defendant, and its agents, or anyone acting on its behalf, be immediately
restrained from altering, deleting or destroying any documents or records that could be used to
identify class members.

c. That the Court certify the claims of the named plaintiff and all other persons
similarly situated as class action claims under Rule 23 of the Federal Rules of Civil Procedure and
Plaintiff's counsel be named as counsel for the classes.

d. That the Plaintiff and all class members be awarded statutory damages of $500
for each violation, with triple damages for any willful or knowing violation, as provided by the
law.

e. That the Plaintiff recover his attorneys’ fees and costs.

f. That the Plaintiff and all class members be granted other relief as is just and
equitable under the circumstances.

Count Two:
Injunctive relief to bar future TCPA violations

59. Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

60. The TCPA authorizes injunctive relief to prevent further violations of the TCPA.

61. The Plaintiff respectfully petitions this Court to order the Defendant, and their
employees, agents and independent distributors, to immediately cease engaging in unsolicited

telemarketing in violation of the TCPA.

 

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Plaintiff requests a jury trial as to all claims of the complaint so triable.
Respectfully submitted this 4" day of May, 2018.

By: — /s/ Brandon J Hill
Brandon J. Hill
Florida Bar Number: 37061

 

Wenzel Fenton Cabassa, PA.
1110 North Florida Ave., Suite 300
Tampa, Florida 33602

Direct No.: 813-337-7992

Main No.: 813-224-0431
Facsimile: 813-229-8712

Email: bhill(@wfclaw.com

 

Chris R. Miltenberger

The Law Office of Chris R.
Miltenberger, PLLC

1340 N. White Chapel, Suite 100
Southlake, Texas 76092-4322
817-416-5060 (office)
817-416-5062 (fax)
chris(@crmlawpractice.com

 

Pro Hac Vice Application Pending

Attorneys for Plaintiff

 

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Plaintiff requests a jury trial as to all claims of the complaint so triable.

Respectfully submitted this G day of May, 2018.

» LOA
Brandor’J. Hill
Florida Bar Number: 37061

Wenzel Fenton Cabassa, PA.
1110 North Florida Ave., Suite 300
Tampa, Florida 33602

Direct No.: 813-337-7992

Main No.: 813-224-0431
Facsimile: 813-229-8712

Email: bhill@wfclaw.com

Chris R. Miltenberger

The Law Office of Chris R.
Miltenberger, PLLC

1340 N. White Chapel, Suite 100
Southlake, Texas 76092-4322
817-416-5060 (office)
817-416-5062 (fax)
chris@crmlawpractice.com

 

Pro Hac Vice Application Pending

Attorneys for Plaintiff

 

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